Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 1 of 13 PageID #: 16583




                              Exhibit I
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 2 of 13 PageID #: 16584




 AO 8SA (Rev. 06109) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                              Eastern District of Texas

        MARVELL SEMICONDUCTOR, INC., et aI.,                                    )
                                Plaintiff                                       )
                                   v.                                           )      Civil Action No.        6:07-cv-204 LED
  COMMONWEALTH SCIENTIFIC AND INDUSTRIAL                                        )
        RESEARCH ORGANISATION                                                   )      (If the action is pending in another district, state where:
                               Defendant                                        )                                                             )


                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To: Sony Computer Entertainment America, Inc., 919 E. Hillsdale Blvd. #200, Foster City, CA 94404, which can be
      served at CSC - Lawyers Inco., 211 E. 7th Street #620, Austin, Texas 78701
        II/'
          Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
  deposition to be taken io this civil action. If yon are an organization that is not a party io this case, you must designate
  one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
  about the followiog matters, or those set forth io an attachment:



   Place: The Anderson County Courthouse Annex, 703 N.                                   Date and Time:
          Mallard #103B, Palestine, Texas 75801 or other                                                       1/28/2010 9:00 am
               location as agreed by the parties                                                               •               •
               The deposition will be recorded by this method:                 stenographically transcribed by a court reporter

        o Production: Yon, or your representatives, must also briog with you to the deposition the following docmnents,
               electronically stored ioformation, or objects, and permit their iospection, copying, testing, or sampliog of the
               material:




          The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
  45 (d) and (0), relatiog to your duty to respond to this subpoena and the potential consequences of not doiog so, are
  attached.

  Date;          01/2112010
                                     CLERK OF COURT
                                                                                            OR

                                             Signature ofClerk or Deputy Clerk

  The name, address, e-mail, and telephone number of the attorney representing (name a/party)                               Commonwealth Scientific
  and Industrial Research Organisation                              , who issues or requests this sUbPoena, are:
 Jessica L. Hannah, Capshaw DeRieux LLP, 1127 Judson Road #220, Longview, Texas 75601
 jhannah@capshawlaw.com, 903-233-4823
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 3 of 13 PageID #: 16585




 AD 8SA (Rev. 06109) SubpC>ena to TestifY at a Deposition in a Civil Action (page 2)

 Civil ActionNo. 6:07-cv-204 LED

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            This subpoena for (name ofindividual and title, ifany)                 ,j-It.vt 1!t/.4l,; L. C{tFl}....lktJc}.~7 .5~v~R
 was received by me on (date)                 1- :;"1-10 -+T ~: o5"Rt-J.

            ~erved the subpoena by delivering a copy to the named individual as follows: :5lJ,Jy,               CGlI4   eu..l~ ~
         .tAnb aIM'" M fA.lTJtJ.H.12.1 ~A Title t> I:;hltlt,g f; DTo £1<4! S 7U24.lJ tI/d: '" r Co ~ r:!.. - 1. ,,4 tV 'I tIJ.!>
        -:r:.weo ~/1£.71".2T/lf.£{At..>7Jlt'T1r.M~                 on(date) /-,!)./-/f),¥l-7 ;$~:;>'O.PM
                "t> tJ..-II.) tll.t1> T&> ~'"'i.,   .e r~.t~ c""-~r<>Ml!~ II:JttJl e.i:, I-t.AP£ ~
            o I returned 111e subpoena unexecuted because:

            Unless the subpoena was issued on bebalf of the Unlted States, or one of its officers or agents, I have also
            rendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amonnt of
            $           "'&!(V~

  My fees are $        &6- Qi>~ rt- for travel and $ ~~~~~_ for services, for a total of $                          0.00



            I declare under penalty of perjury that this information is true.


  Date:      ;- ~          I -Jt>                               ~de/jf/~
                                                                        H,4 LL.. SerJ;;i.signature
                                                           o.i'.,-;itJl.. t<
                                                               J 3 (/D i3d CA-Ij& b 'IF tb ,:)D
                                                                /f,)~l;~) 7 t.;~;an;~ 7'10

                                                                                             Server's address


  Additional information regarding attempted service, etc:
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 4 of 13 PageID #: 16586




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                    §
  MARVELL SEMICONDUCTOR, INC.       §
  MARVELL ASIA PTE., LTD., and MAVELL
                                    §
  INTL., LTD,                       §
                                    §
                 Plaintiffs and     §                       Civil Action No. 6-07-CV-204 LED
                 Counterdefendants, §
                                    §                       Jury Trial Demanded
            v.                      §
                                    §
  COMMONWEALTH SCIENTIFIC AND       §
  INDUSTRIAL RESEARCH ORGANISATION, §
                                    §
                 Defendant and      §
                 Counterclaimant.   §


         COMMONWEALTH SCIENTIFIC AND INDUSTRIAL RESEARCH
    ORGANISATION'S NOTICE OF INTENT TO DEPOSE A REPRESENTATIVE FOR
       SONY COMPUTER ENTERTAINMENT AMERICA, INC. PURSUANT TO
                        FED. R. CIV. PRO. 30(B)(6)

         PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

  Procedure, Plaintiff Commonwealth Scientific and Industrial Research Organisation will take the

  deposition upon oral examination of Sony Computer Entertainment America, Inc., 919 E.

  Hillsdale Boulevard, Suite 200, Foster City, CA 94404-2176, commencing on Thursday, January

  28, 2010, at 9:00 a.m. or other date and time as agreed by the parties. Sony Computer

  Entertainment America, Inc. can be served through its registered agent for service of process

  Corporation Service Company d/b/a CSC – Lawyers Inco, 211 E. 7th Street, Suite 620, Austin,

  Texas 78701. This notice is a continuation of, and adds no new substance to, the notice served

  on Friday, November 20, 2009, in order to accommodate Sony Computer Entertainment

  America’s request for a more convenient location. The deposition will be conducted at the

  Anderson County Courthouse Annex, 703 N. Mallard #103B, Palestine, Texas 75801, or other
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 5 of 13 PageID #: 16587




  such place as agreed upon by the parties. Sony Computer Entertainment America, Inc. is

  directed to designate and produce one or more of its officers, directors, managing agents, or other

  designated persons to testify on its behalf as to the information known or reasonably available to

  Sony Computer Entertainment America, Inc. concerning the matters set forth in ATTACHMENT A.

         This is an independent Rule 30(b)(6) notice that does not supersede, modify, or affect in

  any manner other Rule 30(b)(6) notices that have been served during this litigation.

         The deposition will be recorded stenographically before a notary Public or other officer

  authorized to administer oaths, and shall continue day-to-day, excluding weekends and holidays,

  until completed.



  DATED: January 21, 2010 Respectfully submitted,


                                        By: /s/ Jessica L. Hannah
                                            S. Calvin Capshaw
                                            State Bar No. 03783900
                                            Elizabeth L. DeRieux
                                            State Bar No. 05770585
                                            D. Jeffrey Rambin
                                            State Bar No. 00791478
                                            Jessica L. Hannah
                                            CA State Bar No. 261802
                                            Capshaw DeRieux, LLP
                                            1127 Judson Rd., Suite 220
                                            Longview, Texas 75601
                                            Telephone: (903) 236-9800
                                            Facsimile: (903) 236-8787
                                            E-mail: ccapshaw@capshawlaw.com
                                            E-mail: ederieux@capshawlaw.com
                                            E-mail: jrambin@capshawlaw.com
                                            E-mail: jhannah@capshawlaw.com

                                            Attorneys for Defendant,
                                            COMMONWEALTH SCIENTIFIC AND
                                            INDUSTRIAL RESEARCH ORGANISATION
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 6 of 13 PageID #: 16588




                                  CERTIFICATE OF SERVICE

          I hereby certify that counsel of record who are deemed to have consented to electronic
  service are being served the 21st day January, 2010, with a copy of this document via the Court’s
  CM/ECF system per Local Rule CV-5(a)(3), or to the extent not available in that manner,
  counsel of record will be served by electronic mail, facsimile transmission and/or first class mail
  on this same date.

                                                       /s/ Jessica L. Hannah
                                                       Jessica L. Hannah
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 7 of 13 PageID #: 16589




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                    §
  MARVELL SEMICONDUCTOR, INC.       §
  MARVELL ASIA PTE., LTD., and MARVELL
                                    §
  INTL., LTD,                       §
                                    §
                 Plaintiffs and     §
                 Counterdefendants, §                       Civil Action No. 6-07-CV-204 LED
                                    §
            v.                      §                       Jury Trial Demanded
                                    §
  COMMONWEALTH SCIENTIFIC AND       §
  INDUSTRIAL RESEARCH ORGANISATION, §
                                    §
                 Defendant and      §
                 Counterclaimant.   §


                                        ATTACHMENT A


                                             Definitions

        The following terms and definitions shall apply to this Notice:

     1) “And” as used herein shall mean and/or;

     2) “Identification,” “identify,” or “identify,” when used with reference to:

            a. An individual person means to state his or her full name, present or last known

                employer, job title, present or last known residential address and telephone

                number, and present or last known business address and telephone number;

            b. A business entity means to state the full name and address of the entity and the

                names and positions of the individual or individuals connected with such entity

                who have knowledge of the information requested; and

            c. A document means to state the type of document (letter, report, fact sheet, etc.);

                its date, author(s) or originator(s), addressees; all individuals who received copies

                of the document; the identity of the persons known or presumed by you to have
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 8 of 13 PageID #: 16590




                present possession, custody, or control thereof; and a brief description of the

                subject matter and present location;

     3) “Person” or “people” shall refer to any natural person, firm association, partnership,

        corporation, group, organization, or other form of legal business entity.

     4) “You “ or “your” means Sony Computer Entertainment America, Inc. and includes any

        officers, directors, partners, associates, employees, staff members, agents,

        representatives, attorneys, foreign or domestic subsidiaries, parents, affiliates, divisions,

        successors, predecessors, and any other related entities, and specifically includes all

        assets or companies that have been acquired by Defendant or with respect to which it has

        succeeded to rights and/or obligations.
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 9 of 13 PageID #: 16591




            Sony Computer Entertainment America, Inc. 30(b)(6) Deposition Topics

  I.    The documents, records, reports, and things contained in ATTACHMENT B and
        videos contained in ATTACHMENT D, (collectively referred to as “Material at
        Issue”) including:

        A. The identification of the Material at Issue;
        B. Confirmation or denial that the Material at Issue is or was publicly available on your
           website;
        C. Confirmation or denial that Material at Issue was placed on the web by you;
        D. Confirmation or denial that the originals of the Material at Issue are within your
           “possession, custody or control” under Fed.R.Civ.P. 26(a)(1)(A)(ii);
        E. Confirmation or denial that the Material at Issue was made in the regular course of
           your business;
        F. Confirmation or denial that the Material at Issue was kept in the regular course of
           your business;
        G. Confirmation or denial that the Material at Issue was made at or near the time of the
           occurrence of the matters set forth by, or from information transmitted by, a person
           with knowledge of those matters;
        H. Confirmation or denial that the entries on or contained in the Material at Issue were
           made at or near the time of the act, event, statement, information, or transaction
           recorded or reflected in the Material at Issue;
        I. Confirmation or denial that it was in the regular course of your business for a person
           with knowledge of the acts, events, statements, conditions, or opinions recorded or
           reflected in or on the Material at Issue to make or record or transmit the information
           to be included in the Material at Issue; and
        J. Discussion, exploration, explanation, or investigation of the items above if the
           answers are anything other than a whole and unqualified confirmation, and to the
           extent that such answers are required, the documents, reports, videos, and other
           materials will be referred to separately as needed.


  II.   Confirm the identity of the following corporate officers:

        A. Howard Stringer;
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 10 of 13 PageID #: 16592




          1) Ryoji Chubachi; and
          2) Kazuo Hirai.


   III.      Confirm statements attributed to you in the article(s) in ATTACHMENT C.
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 11 of 13 PageID #: 16593




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                     §
   MARVELL SEMICONDUCTOR, INC.       §
   MARVELL ASIA PTE., LTD., and MARVELL
                                     §
   INTL., LTD,                       §
                                     §
                  Plaintiffs and     §
                  Counterdefendants, §               Civil Action No. 6-07-CV-204 LED
                                     §
             v.                      §               Jury Trial Demanded
                                     §
   COMMONWEALTH SCIENTIFIC AND       §
   INDUSTRIAL RESEARCH ORGANISATION, §
                                     §
                  Defendant and      §
                  Counterclaimant.   §


                                   ATTACHMENT B


            See file(s) contained on CD which was served on November 20, 2009.

                          A second copy will be sent via FedEx.
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 12 of 13 PageID #: 16594




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS

                                   TYLER DIVISION

                                     §
   MARVELL SEMICONDUCTOR, INC.       §
   MARVELL ASIA PTE., LTD., and MARVELL
                                     §
   INTL., LTD,                       §
                                     §
                  Plaintiffs and     §
                  Counterdefendants, §               Civil Action No. 6-07-CV-204 LED
                                     §
             v.                      §               Jury Trial Demanded
                                     §
   COMMONWEALTH SCIENTIFIC AND       §
   INDUSTRIAL RESEARCH ORGANISATION, §
                                     §
                  Defendant and      §
                  Counterclaimant.   §


                                   ATTACHMENT C




            See file(s) contained on CD which was served on November 20, 2009.

                          A second copy will be sent via FedEx.
Case 6:07-cv-00204-LED Document 291-10 Filed 03/15/10 Page 13 of 13 PageID #: 16595




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                     §
   MARVELL SEMICONDUCTOR, INC.       §
   MARVELL ASIA PTE., LTD., and MARVELL
                                     §
   INTL., LTD,                       §
                                     §
                  Plaintiffs and     §
                  Counterdefendants, §               Civil Action No. 6-07-CV-204 LED
                                     §
             v.                      §               Jury Trial Demanded
                                     §
   COMMONWEALTH SCIENTIFIC AND       §
   INDUSTRIAL RESEARCH ORGANISATION, §
                                     §
                  Defendant and      §
                  Counterclaimant.   §


                                   ATTACHMENT D




            See file(s) contained on CD which was served on November 20, 2009.

                          A second copy will be sent via FedEx.
